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DEFENSE ADVANCED RESEARCH PROJECTS AGENCY
675 NORTH RANDOLPH STREET
ARLINGTON, VA 22203-2114

SEP 20 2012

Mr. Muneeb Akhter
AcceSys Technology, LLC
7510 Chancellor Way
Springfield, VA 22153

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T:

Dear Mr Adchte

I would like to personally thank you for your contribution to the Cyber Fast Track
Program. Your research effort through “SCATEboard - Side Channel Attack Test Evaluation
Board,” will enable the government to better understand and prepare for important cyber
challenges. Your partnership with Cyber Fast Track not only contributes to the success of this
novel and innovative program but promotes a positive relationship between the Government and
the Cyber Community.

We look forward to future interactions with your organization. Should you have any
questions, please feel free to contact the Cyber Fast Track team by e-mail at
DARPA-PA-11-52@darpa.mil or Cyberfasttrack@darpa.mil.

Sincerely,
PO bdbe exh

Mr. Peiter “Mudge” Zatko
Program Manager
Information Innovation Office
